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The Is 44 civil cover sheet and the information contained: herein neither replace nor supplement the filing and service of pleadings or ogher papers as sequi Peat xcept as

provided b by focal rules of court. This form, approved by the Judicial Conference of the nited States in September 1974, is required for the uselof pert Gr

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM, )
I. (@) PLAINTIFFS DEFENDANTS. ’ ‘BEISTRICT COURT
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(b) County of Residence of First Listed Plaintiff .- Qs) dD: C7 4 o

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(EXCEPT IN U.S. PLAINTIFF CASES)

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(c} Attorneys (Firm Name, Address, and’ Telephone Number) Attomeys (If Known)
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